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5    Attorney for Defendant
     FERNANDO MADRIGAL
6
                         UNITED STATES DISTRICT COURT
7                       EASTERN DISTRICT OF CALIFORNIA

8
     UNITED STATES OF AMERICA          )
9                                      )         No. Cr.S-10-162 JAM
                     Plaintiff         )
10                                     )
               vs.                     )         STIPULATION CONTINUING
11
                                       )         SENTENCING
12
     FERNANDO MADRIGAL,                )
                                       )            ORDER
13                   Defendant         )
                                       )
14

15        IT IS HEREBY stipulated between the United States of

16   America through its undersigned counsel, together with counsel
17   for defendant MADRIGAL in the above referenced matter that the
18
     sentencing now set for December 17, 2013 be continued to
19
     February 11, 201, at 9:45 AM. In addition, the disclosure of the
20
     PSR and briefing schedule shall be modified as follows:
21
          1.   Judgment and Sentencing Date: 2/11/14
22
          2.   Reply or Statement of Non-Opposition: 2/4/14
23
          Motion for Correction of the Presentence Report shall             be
24
          filed with the Court and served on the Probation             Officer
25
          and opposing counsel no later than: 1/28/14


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1            3.   The Presentence Report shall be filed with the Court
2            and disclosed to counsel no later than: 1/21/14
3
             4.   Counsel’s written objections to the Presentence Report
4
             shall be delivered to the Probation Officer and opposing
5
             counsel no later than: 1/14/14
6
             5.   The proposed Presentence Report shall be disclosed to
7
             counsel no later than: 12/31/13
8
             This request for a continuance of the sentencing date is
9
     necessary because defendant is housed in Butte County making
10
     coordinating and scheduling meetings with the defendant and an
11

12
     interpreter prior to meeting with probation difficult. In

13   addition, coordinating scheduling of meetings with probation is

14   somewhat problematic due to conflicting schedules between the

15   undersigned and probation officer.

16           Counsel for the parties agree that this is an appropriate
17   exclusion of time within the meaning of Title 18, United States
18
     Code§ 3161(h)(8)(B)(iv) (continuity of counsel/reasonable time
19
     for effective preparation) and Local Code T4, and agree to
20
     exclude time from the date of the filing of the order until the
21
     / / /
22
     / / /
23

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1    date of new the sentencing date of, 2/11/14.
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     Respectfully submitted,
5
                                 BENJAMINE B. WAGNER
6                                UNITED STATES ATTORNEY

7
     DATED: 11/22/2013           /s/ MICHAEL MCCOY
8                                Michael McCoy
                                 Assistant United States Attorney
9

10   DATED: 11/22/20113          /s/ MICHAEL B. BIGELOW
                                 Michael B. Bigelow
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                                 Attorney for Fernando Madrigal
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1                                      ORDER
2         IT IS ORDERED THAT: Pursuant to stipulation by the parties,
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     the Schedule for disclosure of the PSR and attendant responses
4
     shall be modified as set forth above and sentencing in the above
5
     referenced matter, presently set for December 17, 2013, is
6
     rescheduled for at 2/11/14, 2013 at 9:45 AM. It is also agreed
7
     by the parties that time should be excluded for continuity of
8
     counsel and reasonable time for effective preparation and
9
     complexity within the meaning of the Speedy Trial Act, 18 U.S.C.
10

11
     §§ 3161(h)(7)(A) and (B)(iv), and Local Codes T2 and T4, from the

12   date of the filing of the order until the date of new the

13   sentencing 2/11/2014.

14        The Court also finds that the ends of justice are served by

15   granting the requested continuance and outweigh the best
16   interest in the public and the defendants in a speedy trial.
17

18
     IT IS SO ORDERED
19

20   DATED: November 25, 2013                 /s/ John A. Mendez__________
                                              Hon. John A. Mendez,
21                                            Judge, U.S. District Court
                                              Eastern District, California
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